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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE
COMMISSION,

                Plaintiff,

    v.                                   No. 1:23-cv-01599-ABJ-ZMF

BINANCE HOLDINGS LIMITED,
BAM TRADING SERVICES INC.,
BAM MANAGEMENT US HOLDINGS
INC., AND CHANGPENG ZHAO,

               Defendants.



            Binance Holdings Limited and Changpeng Zhao’s Response
                  to Plaintiff’s Notice of Supplemental Authority
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       Binance Holdings Limited (“BHL”) and Mr. Changpeng Zhao respectfully submit this

response to the “Notice of Supplemental Authority” filed by the SEC on December 8, 2023. See

ECF No. 188 (“SEC Notice”). In addition to being procedurally improper and impermissible, the

SEC Notice fails to demonstrate the relevance of the resolutions with the Department of Justice

and FinCEN to any of the SEC’s defective claims against BHL and Mr. Zhao.

       As an initial matter, the SEC Notice is an impermissible supplemental brief that identifies

no new “authority” and instead attempts to introduce new factual information and arguments. This

alone is reason to disregard it. See Order Granting Mot. to Strike Notice of Supp. Authority,

ECF No. 2301, Cobell v. Norton, No. 96-cv-01285 (D.D.C. Sept. 25, 2003) (striking notice of

supplemental “authority” that attempted to introduce additional evidence). Nor is judicial notice

“an alternative avenue for amending the complaint.” In re Omnicare, Inc. Sec. Litig., 769 F.3d

455, 466 (6th Cir. 2014). The one case cited by the SEC to support its “Notice,” Contant v. Bank

of America Corp., 385 F. Supp. 3d 284 (S.D.N.Y. 2019), involved resolutions discussed in the

operative complaint, id. at 294–95 nn.3 & 4. Here, the SEC has decided not to amend its

Complaint.

       Even on its substance, the SEC Notice does not support the agency’s claims.

       Fair notice. The SEC’s attempt to use the resolutions to defeat BHL’s and Mr. Zhao’s

fair-notice argument is deeply misguided. SEC Notice at 2. That facts in the plea agreements with

the Department of Justice show that BHL and Mr. Zhao violated the Bank Secrecy Act (“BSA”)

does not say anything about whether there was fair notice of the SEC’s theory that the crypto assets

at issue were securities under the Securities Act or the Exchange Act. The SEC’s attempt to

conflate different statutory schemes by calling them all “U.S. law,” id., is unavailing. Indeed, the

history of regulation by other agencies only underscores the lack of notice of any relevant




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regulatory authority on the part of the SEC, and the SEC’s effort to benefit from other agencies’

resolutions under a different statutory regime is another example of its refusal to accept Congress’s

decision to assign authority over the kinds of assets at issue here to other agencies. BHL’s and

Mr. Zhao’s subjective knowledge is also irrelevant, because the fair-notice inquiry is objective.

See Woodhull Freedom Found. v. United States, 72 F.4th 1286, 1303 (D.C. Cir. 2023).

       Extraterritoriality. The SEC’s reliance on the negotiated resolutions misunderstands the

territorial reach of the securities laws and mischaracterizes the resolutions themselves. As an

initial matter, the applicability of U.S. law to foreign defendants is determined on a statute-by-

statute basis depending on each statute’s “focus.” Abitron Austria GmbH v. Hetronic Int’l, Inc.,

600 U.S. 412, 417–19 (2023). Jurisdictional admissions under the BSA do not bring any of the

SEC’s claims within the reach of the securities laws, and the SEC’s invocation of factual

admissions concerning customers located in the United States fundamentally misunderstands the

“focus” of those laws. As explained in Morrison, the securities laws focus on whether any

securities transactions occurred in the United States or irrevocable liability for them was incurred

in the United States. See Morrison v. Nat’l Australia Bank Ltd., 561 U.S. 247, 266–68 (2010).

       No admission in the plea agreements indicates that relevant transactions occurred, or

irrevocable liability attached, in the United States. Indeed, similar or identical facts are already

alleged in the SEC’s Complaint, which fails to state a plausible claim. ECF No. 118 (“Mot.”)

at 35–41. For example, statements that BHL “sought and served” customers located in the United

States, that “20 to 30 percent of Binance’s website traffic [came] from the U.S.,” and that “U.S.

Customers conducted trillions of dollars in transactions on Binance.com Platform,” SEC Notice

at 3 (emphasis and quotation marks omitted), are no different from allegations in the Complaint

concerning the prevalence of U.S. users on Binance.com. See, e.g., Compl. ¶ 104 (“Binance has




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regularly solicited customers in the United States[.]”); id. ¶ 108 (“U.S. customers made up a

substantial portion of Binance’s business. . . . Binance estimated that the Binance.com Platform

had over 1.47 million customers in the United States.”). But this does not mean the securities laws

apply extraterritorially to BHL or Mr. Zhao. Mot. at 39–40. That U.S. residents used Binance.com

“is irrelevant to the location of a given transaction.” Absolute Activist Master Fund Ltd. v. Ficeto,

677 F.3d 60, 69–70 (2d Cir. 2012); In re Foreign Exch. Benchmark Rates Antitrust Litig., 2016

WL 5108131, at *26 (S.D.N.Y. Sept. 20, 2016). Nor do marketing efforts to “attract and maintain

U.S. users,” SEC Notice at 3 (quotation marks omitted), “satisfy the transactional test announced

in Morrison.” Absolute Activist, 677 F.3d at 70.

       The SEC contends that BHL admitted to using “a U.S.-based technology service provider

to store its data, host its website, and operate the Binance.com platform.” SEC Notice at 3–4. This

argument is misleading, as the SEC omits the rest of that very same sentence: that the service

provider hosted and operated Binance.com “on servers in Japan”—in other words, that the

transactions were consummated, and irrevocable liability attached, outside the United States. SEC

Notice, Ex. 1 Attach. A ¶ 10 (emphasis added). The location of servers in Japan confirms that the

SEC is impermissibly challenging extraterritorial transactions. See Banco Safra S.A.-Cayman Isl.

Branch v. Samarco Mineracao S.A., 849 F. App’x 289, 293 n.2 (2d Cir. 2021) (transaction is

domestic when parties match on electronic exchange in the United States); In re Tezos Sec. Litig.,

2018 WL 4293341, at *9 (N.D. Cal. Aug. 7, 2018) (location of host server relevant to where

transaction occurred).

       As for the allegations that BHL used Merit Peak to settle billions of dollars “using U.S.

banks and a U.S.-based customer,” SEC Notice at 4, those allegations come only from the FinCEN

Consent Order, to which Mr. Zhao is not a party, and were neither admitted nor denied by BHL,




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nor did BHL consent to their use by any other party.            See SEC Notice Ex. 3; Lipsky v.

Commonwealth United Corp., 551 F.2d 887, 893 (2d Cir. 1976) (“[A] consent judgment between

a federal agency and a private corporation which is not the result of an actual adjudication of any

of the issues . . . can not be used as evidence in subsequent litigation.”). In any event, under

Morrison the presence of a U.S.-based customer does not determine where the transactions took

place, see supra at 2–3, nor does the use of U.S. bank accounts, see Loginovskaya v. Batratchenko,

764 F.3d 266, 275 (2d Cir. 2014).

       Finally, applicability of the BSA to BHL and Mr. Zhao is irrelevant because that statute

has a different “focus” than the securities laws and expressly extends its reach to foreign businesses

and conduct. In contrast to the securities laws’ focus on domestic transactions, Mot. at 37, the

BSA focuses more broadly on “money transmitting,” including “transferring funds on behalf of

the public by any and all means including but not limited to transfers within this country or to

locations abroad.” 18 U.S.C. § 1960(b)(2) (emphasis added).1 Under the BSA, having U.S.

customers may be sufficient to trigger the registration and compliance obligations of a foreign-

located money services business like BHL. See, e.g., United States v. Budovsky, 2015 WL

5602853, at *7 (S.D.N.Y. Sept. 23, 2015). For all the reasons set forth in Defendants’ Motion to

Dismiss, that is not so under the securities laws.

       Personal Jurisdiction. The SEC asserts that “numerous facts” from the plea agreements

“contradict” Mr. Zhao’s personal jurisdiction defense to its control person claims. SEC Notice



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  Other provisions of the BSA also make clear that it has broader applicability to foreign companies
than the securities laws. See, e.g., 31 U.S.C. § 5312(a)(2)(R) (defining financial institution to
include “any network of people who engage as a business in facilitating the transfer of money
domestically or internationally outside of the conventional financial institutions system”)
(emphasis added); 31 C.F.R. § 1010.100(ff) (defining a money services business as any person
“wherever located” that does business “within the United States”).


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at 4. Not so. “Personal jurisdiction has an entirely different meaning in a criminal context” than

the analysis required for specific jurisdiction in civil actions. In re Bulk [Extruded] Graphite Prod.

Antitrust Litig., 2004 WL 7338471, at *6 (D.N.J. Oct. 28, 2004). And the SEC does not and cannot

contend that the plea confers blanket jurisdiction over any and all other claims, for good reason:

“[s]pecific jurisdiction is tied to each defendant and to each claim.” Cockrum v. Donald J. Trump

for President, Inc., 319 F. Supp. 3d 158, 175 (D.D.C. 2018).

       A plea agreement that supports jurisdiction for a charge of failing to maintain an adequate

anti-money-laundering program under the BSA says nothing about registration obligations under

federal securities law, nor does it say anything about any role in the alleged conduct of securities

transactions or listing of assets alleged to be securities. As set forth in the Motion to Dismiss,

control person allegations are alone insufficient to support specific jurisdiction. Mot. at 44. The

SEC continues to ignore the requirement of the due process analysis that it must show suit-related

minimum contacts, which neither its Complaint nor its Notice does. Where the factual predicates

for civil and criminal liability differ, courts have dismissed a civil complaint for lack of personal

jurisdiction, notwithstanding an existing criminal plea by the same defendant based on related

conduct. See, e.g., In re Auto. Parts Antitrust Litig., 2015 WL 10376958, at *3–4 (E.D. Mich.

Dec. 30, 2015) (finding guilty plea to antitrust conspiracy affecting one category of consumers

insufficient to establish personal jurisdiction in civil antitrust case brought by a different category

of consumers, and granting motion to dismiss for lack of personal jurisdiction). This Court should

do the same.

                                            *     *     *

       In sum, the SEC’s Notice should be disregarded and, in any event, does not undermine any

of BHL’s and Mr. Zhao’s arguments for dismissal.




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Dated: December 12, 2023                  Respectfully submitted,



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